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TNW OWens, Antonio
3. MAG. pKT./oer. NUMBER 4. otsT. oKT./I)EF. NuMnnn s. APPEALS DKT.mEF. NUMBt-:R 6. owen mcr. NUMBER

2104-020478-00]
7. lN CAsE/MATTER or (cmmme; s. PAYMENT cATEGonY 9. TYPE PERsoN REPRESENTED to. n(§mltnser:'m)rtolv TYPE U§`
ce nslruc Dl'l§
U.S. v. Owens Felony Adult Defendant Crtminal Case 41

 

 

 

 

l l. OFFENSE(S) CH ARGEI) (Cite U.S. Code, Tftle & Section) limure than one olfense, list (up to i!ve) ma|or orinses churged, according to severity oi'ol`i'ense, -', .
]) 18 922(3. F ~- UNLAWFUL TRANSPORTI'POSSESS/RECE[VE FI R_EARMS THROUGH lNTERSTATE COM "__@E :

 

 

 

12. A'FI`ORNEY'S NAME First Name.M.l., Llst Name, including any snf'ilx) ll COURT ORDER
AND MAlLch ADDRE S 0 Appuint|ng Coun.tel l:] C Co-Counlel

Gangull, JLll'll El F Suhs Fnr l‘-`ederai Det'ender [:] R Subl For Ret.\ineci Atlorney

40 S Mal'n St l:l P Subs For Pane| Attorney m Y Stlndby{.'ounsel

Suite 1540 Priur At'iorney's Nlme:

M€mphi$ l N 38103 Appt>lnlmeni Dale: *
E:l Becl\use the above~nuned person represented has les titled under oath or hat
otherwise satisfied this court that he or she (l] ts financially unable iu employ counsel and

Te|¢phqn¢ Numher-, (901) 544'9339 (2) does not wish to waive counsel, and because the interests ofjustlc¢ so require. the

 

attorney when name appears in Item l&\is a o d to represent this person in Ihls case,
]4. NAME ANI) MAILING A.DDRESS OF LAW FIRM ton|y provide per lnstruetlons) or `Q l
1 ,/"

nolo ~

Slgnattje of Frenldln_g Judleiai OEeer nr By Ortter ol` the Co\r.l'U 3 / 2 5 f 2 0 05

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D e ol'é)rr.ier Nunc l’ro Tunc Date

R mem or partial repayment ordered from the person represented Inr this s ervlee at
time ui' appu|ntment. l:l Y NO

 

 
  

 

 
  

  
  
 
  
 
  
 
 
    

CATEGOR.!ES (Attach itemization of services with dates) AM()UNT

HOURS
CLA!MED CLAIMED

 

15. a. Arraignment and/or l'lea

 

b. Bail and Detention Hearlngs

 

c. Motion Hearings
d. Triai
e. Senteneing l-Iear[ngs

 

 

 

 

f. Revocation Hearings

 

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g. Appeals Court
h. Other (Specify on additional sheets)

 

 

(Rate per hour = $ ) TO'I`A.LS:
a. lnterviews and Coni'erences

 

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b. Obtalning and reviewing records

 

c. Legal research and brlel'wrlting

 

d. Travel time

 

e. Investlgative and Other work (sp¢elry an memorial mem

 

H-\l=on -sg »-\:Q

 

(Rate per hour = 5 ) TOTALS:
l'l'. 'I`ravel Expenses (lodging. perktng, meats, mileage, etc.)
18. Other

w

 

 

 

 

 

Expenses

(other than expert, transcripts, ete.)
W, . . ,> -,

   

 

   

    

 

20. APFOINTMENT TERMINATION DATE
[F OTHER THAN CASE COMPLET|ON

 

  

19. CERTIFICAT|ON OF A’ITORNEWPAYEE FOR THE PERIOD 0 F SERVICE . CASE DISPO SITEON

 

 

 

 

FROM TO
22. C LA.|M STATUS ij Flna| Payment ij interim PnymentNumber _ l:lSupplementa| payment
liave you previously applied to the court fu' compensation and.'nr remlmbursement for this t:.\tse'.1 l:] YES [l NO l|'yes, were you pald'.’ l:i YES l:\ NO
{)ther than from the con rt, have yuu. or toyour knowledge has anyone else, received payment (compensatlnn or anything or value) i'rorn any other source in connection with this
representation? l:i YE,S l:l NO |iyes. give details on additional sheets.

l swear or affirm the truth or correctness of the above statements

Signature ofAttorney [)ate:

 

 
  

     

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23. .lN CbURT COM\’. 24. OUT OF COURTCOMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSE 21. TOTAL AMT. APPRICERT
ZB. SIGNATURE OF THE PRESIDING JUD]C|AL OFFICER DATE. zBa. JUDGE f MAG. JUDGE CODE
29. IN COURT C()MP. 30. OUT OF COURT (.`OMP. 31. TRAVEL EXFENSES 32. OTHER EXPENSES 33, TOTAL »\MT. APPROVED
34. §L(§%:&'£H]F;:fcgs["o(r:ll'|¥elElt:`[g‘lgg(;§hl:§_,lggc'lllhn'l;u()nf APP E`.ALS (OR DELEGATE) Payment I]ATE 343. JUDCE CODE

 

 

 

 

 

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UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

